      Case 2:19-cv-00137-LMA-DPC Document 142 Filed 12/23/19 Page 1 of 4




                   UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF LOUISIANA
ERIC GREENBERG, M.D.           *    CIVIL NO. 19-137
                               *
                               *
                               *    JUDGE: LMA
VERSUS                         *
                               *    MAGISTRATE: JCW, JR
BOARD OF SUPERVISORS           *
OF LOUISIANA STATE UNIVERSITY *     SECTION “I”(2)
AND AGRICULTURAL AND          *
MECHANICAL COLLEGE            *
                              *
** **********************************************

                                  JOINT JURY CHARGE:
                                MITIGATION OF DAMAGES

       Pursuant to the Order (Rec. Doc. 131) issued by the Honorable Judge Lance M. Africk,

United States District Judge, on Tuesday, December 10 2019, the parties submit the following

joint jury charge regarding the mitigation of damages in this matter.

ate: December 23, 2019                                       Respectfully Submitted,



                                                             /s/ J. Arthur Smith, III
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     Case 2:19-cv-00137-LMA-DPC Document 142 Filed 12/23/19 Page 2 of 4




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                                                           Greenberg, M.D.

                                                           /s/ Julianne T. Echols
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                                                           Supervisors of Louisiana State
                                                           University and Agricultural and
                                                           Mechanical College



                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 23rd day of December, 2019, a copy of the foregoing

was filed electronically with the Clerk of Court for the Eastern District of Louisiana using the

CM/ECF system. Notice of this filing will be sent to all parties by operation of the court’s

electronic filing system.


                                                           /s/_Julianne T. Echols_________
      Case 2:19-cv-00137-LMA-DPC Document 142 Filed 12/23/19 Page 3 of 4




               PROPOSED JURY CHARGE: MITIGATION OF DAMAGES



MITIGATION OF DAMAGES

        Defendant LSU Board claims that Plaintiff Eric Greenberg, M.D., failed to mitigate his

damages. Plaintiff has a duty under the law to mitigate his damages, that is, to exercise

reasonable diligence under the circumstances to minimize his damages.

        To succeed on this defense, The LSU Board must prove, by a preponderance of the

evidence: (a) that there was substantially equivalent employment available; (b) Plaintiff failed to

use reasonable diligence in seeking those positions; and (c) the amount by which Plaintiff’s

damages were increased by his failure to take such reasonable actions.

        “Substantially equivalent employment” in this context means a job that has virtually

identical promotional opportunities, compensation, job responsibilities, working conditions, and

status as the job he lost. Plaintiff does not have to accept a job that is dissimilar to the one he

lost, one that would be a demotion, or one that would be demeaning. The reasonableness of

Plaintiff’s diligence should be evaluated in light of his individual characteristics and the job

market.

        Here, the LSU Board must show that Eric Greenberg failed to find a job that was

substantially similar to the emergency medicine residency position from which he was

terminated. The LSU Board must show that this substantially equivalent employment was

available to him. If the LSU Board persuades you, by a preponderance of the evidence, that Eric

Greenberg failed to obtain a substantially equivalent job that was reasonably available to him,

then you should reduce the amount of Eric Greenberg’s damages by the amount that could have

been realized if Eric Greenberg had taken advantage of opportunities for such employment.
     Case 2:19-cv-00137-LMA-DPC Document 142 Filed 12/23/19 Page 4 of 4




Source/Authority: Adapted from Jury Charge 11.14, 5th Circuit Pattern Instructions for Civil
Cases (2014).
